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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig     *
“Deepwater Horizon” in the Gulf     *               MDL NO.: 2179
of Mexico, on April 20, 2010        *
                                    *
                                    *               SECTION J
This document relates to all cases  *
                                    *
                                    *               JUDGE BARBIER
                                    *               MAG. JUDGE SHUSHAN
                                    *
                                    *
*************************************

                                            ORDER

        Having considered the Motion for Leave to File Supplemental Memorandum in Support

of Unopposed Objection to PTO No. 34 and Rule 59(e) Motion to Clarify PTO No. 34 Through

Declaration Regarding Effect of Short-Form Filing on Claimants’ GCCF Recoveries, filed by

various plaintiffs,

        IT IS ORDERED          that the motion is granted and the proposed Supplemental

Memorandum in Support of Unopposed Objection to PTO No. 34 and Rule 59(e) Motion to

Clarify PTO No. 34 Through Declaration Regarding Effect of Short-Form Filing on Claimants’

GCCF Recoveries be filed into the record in this matter.

        New Orleans, Louisiana, this ___ day of May, 2011.




                                     DISTRICT COURT JUDGE




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